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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

ANTHONY MORGAN,                                    )
                                                   )
                        Plaintiff,                 )   Case No._______________
                                                   )
            v.                                     )
                                                   )   COMPLAINT FOR VIOLATIONS OF
CLEVELAND BIOLABS, INC., LEA                       )   THE FEDERAL SECURITIES LAWS
VERNY, RANDY S. SALUCK,                            )
ALEXANDER ANDRYUSHECHKIN,                          )   JURY TRIAL DEMANDED
DANIIL TALYANSKIY, ANNA                            )
EVDOKIMOVA, and IVAN FEDYUNIN,                     )
                                                   )
                        Defendants.
                                                   )

       Plaintiff Anthony Morgan (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                            NATURE SUMMARY OF THE ACTION

       1.        Plaintiff brings against Cleveland BioLabs, Inc. (“Cleveland” or the “Company”)

and the members of Cleveland’s Board of Directors (the “Board” or the “Individual Defendants”)

for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission

(“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction,

pursuant to which Cleveland will merge with Cytocom, Inc. (“Cytocom”) through Cleveland’s

wholly owned subsidiary High Street Acquisition Corp. (“Merger Sub”) (the “Proposed

Transaction”).

       2.        On October 20, 2020, Cleveland and Cytocom issued a joint press release

announcing that they had entered into an Agreement and Plan of Merger dated October 16, 2020
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(the “Merger Agreement”). Upon closing of the merger, Cytocom stockholders are expected to

own approximately 61% of the combined company’s stock, while Cleveland stockholders are

expected to own approximately 39% of the combined company’s stock.

       3.      On February 16, 2021, Cleveland filed a Form S-4 Registration Statement (the

“Registration Statement”) with the SEC. The Registration Statement, which recommends that

Cleveland stockholders vote to approve the issuance of Cleveland common stock to Cytocom

stockholders pursuant to the Merger Agreement (“Stock Issuance”) and the change of control

resulting from the Proposed Transaction, omits or misrepresents material information concerning,

among other things: (i) Cytocom management’s financial projections, relied upon by the

Company’s financial advisor Cassel Salpeter & Co., LLC (“Cassel Salpeter”) in its financial

analyses; (ii) the data and inputs underlying the financial valuation analyses that support the

fairness opinion provided by Cassel; (iii) Cassel Salpeter’s potential conflicts of interest; and (iv)

the background of the Proposed Transaction. The failure to adequately disclose such material

information constitutes a violation of Sections 14(a) and 20(a) of the Exchange Act as Cleveland

stockholders need such information in order to make a fully informed decision whether to vote in

favor of the Stock Issuance.

       4.      It is imperative that the material information omitted from the Registration

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to the Company’s stockholders or, in the event




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the Proposed Transaction is consummated, to recover damages resulting from the defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        7.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District.

                                           THE PARTIES

        9.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Cleveland.

        10.      Defendant Cleveland is a Delaware corporation, with its principal executive offices

located at 73 High Street, Buffalo, New York 14203. Cleveland is a biopharmaceutical company

developing novel approaches to activate the immune system and address serious medical needs

clinical-stage biopharmaceutical company developing novel treatments for diseases of high unmet

medical need. Cleveland’s shares trade on the Nasdaq Capital Market under the ticker symbol

“CBLI.”




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       11.     Defendant Lea Verny (“Verny”) has been Board Chair of the Company since July

2016 and a director since April 2016.

       12.     Defendant Randy S. Saluck (“Saluck”) has been a director of the Company since

July 2016. Defendant Saluck also previously served as a director from May 2013 until April 2016.

       13.     Defendant Alexander Andryushechkin (“Andryushechkin”) has been a director of

the Company since July 2016.

       14.     Defendant Daniil Talyanskiy (“Talyanskiy”) has been a director of the Company

since June 2016.

       15.     Defendant Anna Evdokimova (“Evdokimova”) has been a director of the Company

since 2015.

       16.     Defendant Ivan Fedyunin (“Fedyunin”) has been a director of the Company since

August 2018.

       17.     Defendants identified in paragraphs 11-16 are referred to herein as the “Board” or

the “Individual Defendants.”

       18.     Non-Party Cytocom is a clinical-stage biopharmaceutical company developing

novel immunotherapies targeting autoimmune, inflammatory, infectious diseases and cancers

based on a proprietary platform designed to rebalance the body’s immune system and restore

homeostasis. Cytocom is developing therapies designed to elicit directly within patients a robust

and durable response of antigen-specific killer T cells and antibodies, thereby activating essential

immune defenses against autoimmune, inflammatory, infectious diseases, and cancers.

Specifically, Cytocom has four programs in late-stage clinical development in Crohn’s disease,

Fibromyalgia, Multiple Sclerosis and Pancreatic Cancer.           Cytocom’s immunomodulatory

technology restores the balance between the cellular (Th1) and the humoral (Th2) immune




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systems. Immune balance is regulated through T-helper cells that produce cytokines. The Th1

lymphocytes help fight pathogens within cells like cancer and viruses through interferon-gamma

and macrophages. The Th2 lymphocytes target external pathogens like cytotoxic parasites,

allergens, toxins through the activation of B-cells and antibody production to effect to dendritic

cells, which are natural activators of killer T cells, also known as cytotoxic T cells, or CD8+ T

cells. Furthermore, the Cytocom technology antagonizes the Toll-like Receptors to inhibit pro-

inflammatory cytokines.

       19.     Non-Party Merger Sub is a direct, wholly-owned subsidiary of Cleveland.

                                SUBSTANTIVE ALLEGATIONS

Background of the Company

       20.     Cleveland is a biopharmaceutical company developing novel approaches to activate

the immune system and address serious medical needs. Its proprietary platform of Toll-like

immune receptor activators has applications in mitigation of radiation injury and immuno-

oncology. Cleveland combines its proven scientific expertise and its depth of knowledge about its

products’ mechanisms of action into a passion for developing drugs to save lives.

       21.     Entolimod, a Toll-like receptor 5 (“TLR5”) agonist, which Cleveland is developing

as a medical radiation countermeasure (“MRC”) for reducing the risk of death following exposure

to potentially lethal irradiation from Acute Radiation Syndrome (“ARS”) is Cleveland’s most

advanced product candidate. Other indications, including immunotherapy for oncology, have been

or will be investigated as well. Entolimod as an MRC is being developed under the United States

Food & Drug Administration’s (“FDA”) Animal Efficacy Rule for the indication of reducing the

risk of death following exposure to potentially lethal irradiation occurring as a result of a radiation

disaster. Cleveland believes that entolimod is the most efficacious MRC currently in development.




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       22.    Cleveland has completed two Good Clinical Practices clinical studies designed to

evaluate the safety, pharmacokinetics and pharmacodynamics of entolimod in a total of 150

healthy subjects. It has completed a Good Laboratory Practices (“GLP”) randomized, blinded,

placebo-controlled, pivotal study designed to evaluate the dose-dependent effect of entolimod on

survival and biomarker induction in 179 non-human primates exposed to 7.2 Gy total body

irradiation when entolimod or a placebo was administered at 25 hours after radiation exposure.

Cleveland has also completed a GLP, randomized, open-label, placebo-controlled, pivotal study

designed to evaluate the dose-dependent effect of entolimod on biomarker induction in 160 non-

irradiated non-human primates. In 2015, following confirmation from the FDA of the sufficiency

of Cleveland’s existing efficacy and safety data and animal-to-human dose conversion, Cleveland

submitted to the FDA an application for pre-Emergency Use Authorization (“pre-EUA”) a form

of authorization granted by the FDA under certain circumstances. Since 2015, the FDA has

indicated that a biocomparability exercise was necessary to compare the entolimod formulation

used to perform early studies with the entolimod formulation planned for stock piling under the

pre-EUA.     This exercise is complete, and the FDA agrees that for pre-EUA purposes,

biocomparability has been demonstrated.

The Proposed Transaction

       23.    On October 20, 2020, Cleveland and Cytocom issued a joint press release

announcing the Proposed Transaction, which states, in relevant part:

       WINTER PARK, Fla., Oct. 20, 2020 -- Cytocom, Inc. (Cytocom), a leading
       biopharmaceutical company in the area of immune-modulation, and Cleveland
       BioLabs, Inc., an innovative biopharmaceutical company developing novel
       approaches to activate the immune system, today announced that they have entered
       into a definitive merger agreement to combine their businesses in an all-stock
       transaction. Cytocom shareholders will have a majority position in the newly
       combined entity, which the parties anticipate will continue to be listed on the
       Nasdaq, and the initial Board of Directors for the combined company will consist




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   of four members selected by Cytocom and three members selected by Cleveland
   BioLabs. The Boards of Directors of both companies have approved the
   combination.

   For Immune Therapeutics, Inc. (Ticker: IMUN) and its shareholders who hold a
   considerable stake in Cytocom this means that the value for all of the years of
   support and collaboration with Cytocom can be realized. The Cytocom platform
   technologies and product pipeline, in combination with Cleveland BioLabs, have
   the potential to drive significant future growth in Immune’s shareholder value.

   Each party to the proposed merger believes that the combined company will create
   near-term commercial opportunities in numerous areas of significant unmet
   medical needs including acute radiation injury, oncology, infectious disease,
   inflammation and autoimmune-mediated conditions, with multiple commercial,
   regulatory and clinical milestones expected over the next 12 to 18 months.
   Operating as “Cytocom, Inc.” and under the leadership of Cytocom’s experienced
   management team, the combined company will be positioned for consistent growth.

   Overview

   Michael K. Handley, President and Chief Executive Officer of Cytocom, stated,
   “Our merger with Cleveland BioLabs and its subsequent immune-focused platform
   will be a transformative growth opportunity for Cytocom and Cleveland BioLabs
   shareholders. We believe that the combination of these highly complementary late-
   stage pipelines will strengthen our position and advance our efforts to unlock the
   potential of immune-modulating agents in the treatment of serious medical
   conditions. Further, this merger will enhance our ability to become a recognized
   leader in immune-modulating treatments and builds on the momentum created by
   our recent acquisition of ImQuest Life Sciences. We plan to utilize the combined
   platform to further drive value with additional clinical and commercial products
   and continue to seek strategic partnerships and acquisitions.”

   Dr. Andrei Gudkov, Chief Scientific Officer of Cleveland BioLabs, said: “This is
   an exciting day for Cleveland BioLabs and a great opportunity for our stockholders.
   The merger with Cytocom will allow us to add the strength of our science and bright
   perspectives associated with Entolimod development in cancer treatment and
   radiation defense arenas with a string of immunomodulators developed by Cytocom
   to form a powerful blend of conceptually and scientifically aligned products. We
   believe that the merger with Cytocom is the ideal way to unlock the value of our
   technology platform and our lead drug candidate, Entolimod, and I look forward to
   seeing this exciting new therapy advance through the clinic.”

   Conditions

   The proposed transaction is subject to customary closing conditions, including
   approval by the stockholders of Cleveland Biolabs, the shares of the combined




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       company being approved for listing on Nasdaq and a registration statement under
       the Securities Act becoming effective. Cytocom and Cleveland Biolabs expect the
       transaction to close during the first quarter of 2021.

The Registration Statement Contains Material Misstatements and Omissions

       24.     Defendants filed a materially incomplete and misleading Registration Statement

with the SEC and disseminated it to Cleveland’s stockholders. The Registration Statement

misrepresents or omits material information that is necessary for the Company’s stockholders to

make an informed decision whether to vote in favor of the Stock Issuance.

       25.     Specifically, as set forth below, the Registration Statement fails to provide

Company stockholders with material information or provides them with materially misleading

information concerning: (i) the projections for Cytocom, utilized by the Company’s financial

advisor Cassel Salpeter in its financial analyses; (ii) the data and inputs underlying the financial

valuation analyses that support the fairness opinion provided by Cassel Salpeter; (iii) the

background of the Proposed Transaction; and (iv) Cassel Salpeter’s potential conflicts of interest.

Material Omissions Concerning Cytocom’s Financial Projections and Cassel Salpeter’s
Financial Analyses

       26.     The Registration Statement omits material information regarding Cytocom’s

financial projections, relied upon by Cassel Salpeter for its analyses.

       27.     For example, in connection with Cassel Salpeter’s fairness opinion (upon which

the Board relied), Cassel Salpeter reviewed and relied upon “financial projections with respect to

the future financial performance of Cytocom . . . prepared by management of Cytocom, or the

Projections” Registration Statement at 122-23. Additionally, Cassel Salpeter performed a net

present value analysis of Cytocom utilizing the projected free cash flows of Cytocom through

December 31, 2020. See id. at 125. The Registration Statement, however, completely omits any

financial projections for Cytocom, including Cytocom’s free cash flow projections.




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       28.

       29.     The Registration Statement describes Cassel Salpeter’s fairness opinion and the

various valuation analyses performed in support of its opinion. However, the description of Cassel

Salpeter’s fairness opinion and analyses fails to include key inputs and assumptions underlying

these analyses. Without this information, as described below, Cleveland’s public stockholders are

unable to fully understand these analyses and, thus, are unable to determine what weight, if any,

to place on Cassel Salpeter’s fairness opinion in determining whether to vote in favor of the Stock

Issuance.

       30.     With respect to Cassel Salpeter’s Risk-Adjusted Net Present Value Analysis, the

Registration Statement fails to disclose (i) the projected free cash flows of Cytocom through

December 31, 2030, used in the analysis; (ii) quantification of the terminal values; and (iii)

quantification of the individual inputs and assumptions underlying the discount rates of 33.0% to

37.0% and 58.0% to 62.0%.

       31.     With respect to Cassel Salpeter’s Selected Companies Analysis, the Registration

Statement fails to disclose the individual multiples and financial metrics for each of the selected

companies analyzed by Cassel Salpeter.

       32.     Without such undisclosed information, Cleveland stockholders cannot evaluate for

themselves whether the financial analyses performed by Cassel Salpeter were based on reliable

inputs and assumptions or whether they were prepared with an eye toward ensuring that a positive

fairness opinion could be rendered in connection with the Proposed Transaction. In other words,

full disclosure of the omissions identified above is required in order to ensure that stockholders

can fully evaluate the extent to which Cassel Salpeter’s opinion and analyses should factor into

their decision whether to vote in favor of or against the Stock Issuance.




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       33.     The omission of this information renders the statements in the “Opinion of the

Financial Advisor to the Cleveland BioLabs Special Committee” section of the Registration

Statement false and/or materially misleading in contravention of the Exchange Act.

Material Omissions Concerning the Background of the Proposed Transaction

       34.     The Registration Statement fails to disclose material information concerning the

background of the Proposed Transaction.

       35.     For example, the Registration Statement fails to disclose whether the Company

entered into non-disclosure agreements with parties identified in the Registration Statement as

Companies A, B and C and, if so, whether these non-disclosure agreements contain standstill

provisions or “don’t-ask-don’t waive” standstill provisions that preclude these counterparties from

making a superior proposal for Cleveland.

       36.     The failure to disclose the existence of DADW provisions creates the false

impression that a potential bidder who entered into a confidentiality agreement could make a

superior proposal for Cleveland. If the potential acquirer’s confidentiality agreement contains a

DADW provision, then that potential bidder can only make a superior proposal by (i) breaching

the confidentiality agreement—since in order to make the superior proposal, it would have to ask

for a waiver, either directly or indirectly; or by (ii) being released from the agreement, which if

action has been done, is omitted from the Registration Statement

       37.     Any reasonable Cleveland stockholder would deem the fact that a likely topping

bidder may be precluded from making a topping bid for the Company to significantly alter the

total mix of information.




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        38.     The omission of this information renders the statements in the “Background of the

Merger” section of the Registration Statement false and/or materially misleading in contravention

of the Exchange Act.

Material Omissions Concerning Cassel Salpeter’s Potential Conflicts of Interest

        39.     The Registration Statement fails to disclose material information concerning

potential conflicts of interest faced by Cassel Salpeter.

        40.     For example, the Registration Statement fails to disclose whether Cassel Salpeter

provided financial services for or received fees from Cytocom in the two years prior to performing

its fairness opinion.

        41.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

        42.     The omission of this information renders the statements in the “Opinion of the

Financial Advisor to the Cleveland BioLabs Special Committee” section of the Registration

Statement false and/or materially misleading in contravention of the Exchange Act.

        43.     The Individual Defendants were aware of their duty to disclose this information

and acted negligently (if not deliberately) in failing to include this information in the Registration

Statement. Absent disclosure of the foregoing material information prior to the stockholder vote

on the Stock Issuance, Plaintiff and Cleveland’s public stockholders will be unable to make a

sufficiently informed decision whether to vote in favor of the Stock Issuance and are thus

threatened with irreparable harm warranting the injunctive relief sought herein.




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                                     CLAIMS FOR RELIEF

                                              COUNT I

             Claims Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and Rule 14a-9 Promulgated Thereunder

       44.     Plaintiff repeats all previous allegations as if set forth in full.

       45.     During the relevant period, defendants disseminated the false and misleading

Registration Statement specified above, which failed to disclose material facts necessary to make

the statements, in light of the circumstances under which they were made, not misleading in

violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       46.     By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Registration Statement. The

Registration Statement was prepared, reviewed, and/or disseminated by the defendants.              It

misrepresented and/or omitted material facts, including material information about (i) the

projections for Cytocom, utilized by the Company’s financial advisor Cassel Salpeter in its

financial analyses; (ii) the data and inputs underlying the financial valuation analyses that support

the fairness opinion provided by Cassel Salpeter; (iii) the background of the Proposed Transaction;

and (iv) Cassel Salpeter’s potential conflicts of interest. The defendants were at least negligent in

filing the Registration Statement with these materially false and misleading statements.

       47.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder would consider them important in deciding how to

vote on the Stock Issuance.

       48.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.




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       49.     Because of the false and misleading statements in the Registration Statement,

Plaintiff is threatened with irreparable harm, rendering money damages inadequate. Therefore,

injunctive relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                   Claims Against the Individual Defendants for Violations
                            of Section 20(a) of the Exchange Act

       50.     Plaintiff repeats all previous allegations as if set forth in full.

       51.     The Individual Defendants acted as controlling persons of Cleveland within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Cleveland, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Registration

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       52.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected.

       53.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Registration Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Stock Issuance.

They were, thus, directly involved in the making of the Registration Statement.




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        54.    In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were each involved in negotiating, reviewing, and approving the

Proposed Transaction. The Registration Statement purports to describe the various issues and

information that they reviewed and considered—descriptions the Company directors had input

into.

        55.    By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

        56.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-

9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of defendants’ conduct, Cleveland stockholders

will be irreparably harmed.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in h__ favor on behalf of Cleveland, and against defendants, as follows:

        A.     Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Stock Issuance, unless and until defendants disclose and disseminate the material

information identified above to Cleveland stockholders;

        B.     In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;




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       C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

as well as SEC Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.


                                         JURY DEMAND

       Plaintiff demands a trial by jury.

 Dated: March 23, 2021                                   LONG LAW, LLC

                                                 By:     /s/ Brian D. Long
                                                         Brian D. Long (#4347)
                                                         3828 Kennett Pike, Suite 208
                                                         Wilmington, DE 19807
                                                         Telephone: (302) 729-9100
                                                         Email: BDLong@longlawde.com

                                                         Attorneys for Plaintiff




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